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                                       ATTACHMENT         A

                                  STIPULATION       OF FACTS

         The undersigned parties stipulate and agree that if this case had proceeded to trial. this
Office would have proven the followingfacts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that thefollowingfacts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

          Between on or about July 22, 2017, and on or about July 24, 2017, while residing at Joint
Base Andrews in Prince George's County, Maryland, a location within the special maritime or
territorialjurlsdiction of the United States, MITCHELL OREN SMITH ("SMITH"), knowingly
and intentionally touched, not through the clothing, the genitalia of Victim A with the intent to
arouse or gratify the sexual desire of any person.

       SMITH engaged in multiple sexual acts with Victim A. SMITH di 'tall            manipulated
Victim A's genitalia on more than one occasion, over the course of months.




                        From SMITH's Motorola XT1254 cellular telephone, serial number
ZXIF23RJLX, investigators recovered a digital photograph of SMITH's penis resting on Victim
A's buttocks. SMITH used Victim A for purpose of creating a visual depiction of sexually explicit
conduct. The Motorola telephone was manufactured outside the state of Maryland and had moved
in interstate commerce,




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       At the time of these events, Victim A was under 10 years of age. At the time SMITH
engaged in this conduct, Victim A was under the care, custody, or supervisory control of SMITH.




        SO STIPULATED:
                                            ~&I2L--
                                            JiCBaldwin
                                            Assistant United States Attorney


                                            A~~
                                            MitchelI Oren Smith
                                            Defendant


                                              lJ-~l'Lk-
                                            Lisa Lunt, Esq.
                                            Counsel for Defendant




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